Case 2:05-cr-20145-SH|\/| Document 24 Filed 06/21/05 Page 1 of 2 Page|D 28

UNITED sTATEs DISTRICT COURT F' /)MC
WESTERN DISTRICT oF TENNESSEE _ _
Western Division G:) JUN 2 l m 8' us
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Cl't; "l-;j.- l`;i:‘F-i- gignng
UNITED STATES OF AMERICA @ W.D (,,7- ;§\_, MEM \_

-vs- Case No. 2:05cr20145-1-Ma

ANTIONETTE GRANATA

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING‘ PURSUANT TO
BAIL REFORM ACT
Upon motion of the Govemment, it is ORDERED that a bond revocation hearing is set for
THURSDAY, JUNE 23, 2005 at 3:00 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, 9"‘ Floor, United States Courthouse and Federal Building, 167 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United

States Marshal and produced for the hearing

Date: June 20, 2005

 

TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

 

*If not held immediately upon defendant‘s first appearance, the heating may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(D(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Order of Temporary Detenlion

Thls document entered on the docket sheet ln compliance ,
warn ama ss and/or szrb) Fnch on Q 12[;@"' QZ’[

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 24 in
case 2:05-CR-20145 Was distributed by faX, mail, or direct printing on
June 2l , 2005 to the parties listed.

 

 

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Honcrable Sarnuel Mays
US DISTRICT COURT

